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                 IN THE UNITED STATES DISTRCT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA

Vraj V. Patel,

v.
                                                  Case No.: 1:25-cv-00103-SPB
Pam Bondi, Attorney General of the United
States, et al.


           ORDER GRANTING MOTION FOR AMEND/CORRECT THE CAPTION

      Upon consideration of   the   Plaintiff’s    motion   to amend/correct the case caption in

this matter pursuant to Federal Rule of Civil Procedure 15(1)(C), ECF No. [11],

      IT IS HEREBY ORDERED, this 25th day of April, 2025, that the motion is granted. The Clerk

is directed to amend the above-captioned case to reflect Plaintiff's true legal name of Vraj V.

Kapatel.




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                                                   SUSAN PARADISE BAXTER
                                                   UNITED STATES DISTRICT JUDGE
